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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

_______________________________________

Erica Meintzinger on behalf of herself
and all others similarly situated,
                                                           Docket No. 18 cv 6073
                                      Plaintiff,
       v.                                                 CLASS ACTION

Diversified Consultants, Inc.                             Jury Demanded

                              Defendant.
________________________________________


                                  Class Action Complaint for
                      Violations of the Fair Debt Collection Practices Act

       1. Plaintiff Erica Meintzinger (“Plaintiff” or “Meintzinger”) files this Complaint seeking

redress for the illegal practices of Defendants in connection with the collection of an alleged debt

allegedly owed by Plaintiff in violation of the Fair Debt Collection Practices Act, (“FDCPA”), 15

U.S.C. § 1692, et seq.

                                                Parties

       2. Plaintiff is a citizen of New York State who resides within this District.

       3.   Plaintiff is a “consumer” as that term is defined by FDCPA § 1692a(3).

       4. The alleged debt of Plaintiff is a “debt” as defined by 15 U.S.C. § 1692a in that it is a

personal loan or extension of credit alleged to be owed for personal, family, or household

services.

       5. The alleged debt was for the purchase of household and personal products and no part

of the alleged debt was incurred for business related items or services. The alleged debt was

allegedly incurred for a personal cell phone.



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        6. At all times relevant to this Complaint, Defendant Diversified Consultants, Inc.

(hereinafter, “Diversified” or “Defendant”) is a debt collector regularly engaged in the collection

of debts allegedly due to others, as defined by the FDCPA § 1692a(6), in that they directly or

indirectly collected debts.

        7. At all times relevant to this Complaint Defendant was regularly engaged in the

collection of debts allegedly due to others.

        8. At all times relevant to this Complaint, the principal purpose of the Defendant was

the collection of debts.



                                        Jurisdiction and Venue

        9. This Court has federal question jurisdiction pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692k(d).

        10. Declaratory relief is available under 28 U.S.C. §§ 2201 and 2202.

        11. Venue is proper in this district under 28 U.S.C. § 1391(b), as the acts and transactions

that give rise to this action occurred, in substantial part, in this district.



                                          Factual Allegations


        12. In an attempt to collect this alleged debt, on November 3, 2017, Defendant sent

Plaintiff the debt collection letter attached as Exhibit A hereto.

        13. Plaintiff received Exhibit A.

        14. Exhibit A was Defendant’s first communication with Plaintiff.

        15. Exhibit A states:




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        Total Debt Due as of Charge-off: $1,272.18
        Total Interest Accrued Since Charge-Off: N/A
        Total Non-Interest Charges or Fees Since Charge-Off: $228.99
        Total of Payments Made on the Debt Since Charge-Off: N/A


        16. Exhibit A indicates that “Non-Interest Charges or Fees” have accrued post charge-off.

Exhibit A does not indicate whether “Non-Interest Charges or Fees” are going to continue to

accrue. This is illegal under the FDCPA. Exhibit A does not provide the least sophisticated

consumer with either of the “safe harbor” provisions provided by the Second Circuit in Avila v.

Riexinger & Assocs., LLC, 817 F.3d 72 (2d Cir. N.Y. 2016). This deprives the least sophisticated

consumer the ability to determine how much is owed on the alleged debt, thereby depriving them

of their statutory right to this information.

        17. Exhibit A fails to provide any specific information about what “Non-Interest Charges

or Fees” are going to be charged. As first suggested by the Second Circuit in Avila v. Riexinger

& Assocs., LLC, 817 F.3d 72 (2d Cir. N.Y. 2016), and later mandated by the Second Circuit in

Carlin v. Davidson Fink LLP, 852 F.3d 207, 215-17 (2d Cir. 2017), debt collectors must provide

this information to consumers.

        18. Exhibit A violates 15 USC 1692e, and various subdivisions thereto, in

that it fails to inform the Plaintiff of the amount of the debt, and how much is needed to pay off

the debt. Avila v. Riexinger & Assocs., LLC, 817 F.3d 72 (2d Cir. N.Y. 2016); Carlin v. Davidson

Fink LLP, 852 F.3d 207, 215-17 (2d Cir. 2017).

        19. Exhibit A violates the FDCPA, Avila, and Carlin in that the Plaintiff is

misled as to the proper amount, character, and status of the debt.

        20. Exhibit A is deceptive, unfair and unconscionable and violates 15 USC




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1692e, 15 USC 1692e(2), 15 USC 1692e(10), 15 USC 1692f, 15 USC 1692g, and 15 USC 1692f,

in that it fails to inform the Plaintiff whether costs may continue to accrue on the account and

how much. Nor does it provide either of the “safe harbor” provisions outlined by the Second

Circuit in Avila. It leaves the consumer unable to determine the amount of the debt needed to

pay off the debt.

       21. The initial letter Defendant sent to the Plaintiff violates 15 USC 1692g(a) in that it

fails to properly and effectively convey to Plaintiff the amount of the debt that is allegedly owed,

as specifically required by the FDCPA. Defendant did not send another letter within five days of

sending Exhibit A, that properly conveyed the Plaintiff’s rights under 15 USC 1692g.

       22. Additionally, Exhibit A is false and misleading in that it can be understood in two

different ways, one of which is false.

       23. Exhibit A can be read to mean that costs were continuing to accrue. If costs were

continuing to accrue on the account, then the Defendant was obligated to include the safe harbor

notices mandated by Avila, and Carlin. The Defendant’s failure to do so violates 15 USC 1692e,

1692e(2), 1692e(5), 1692e (10); and 1692g.

       24. If costs were not continuing to accrue, then Exhibit A is false and deceptive in that it

includes language that could indicate that it is a possibility that interest was continuing to accrue.



                                         Class Action Allegations

       25. Under Federal Rule of Civil Procedure 23, a class action is appropriate

and preferable in this case because:

               a. Based on the fact that the collection letter at the heart of this litigation is a
                  mass-mailed form letters, the class is so numerous that joinder of all members
                  is impractical.



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                b. There are questions of law and fact common to the class that predominate
                   over any questions affecting only individual class members. These common
                   questions include whether Exhibit A violates the FDCPA.

                c. The claims of Plaintiff are typical of the class members’ claims. All are based
                   on the same facts and legal theories. The only individual issue is the
                   identification of the consumers who received the letter, (i.e., the class
                   members), which is a matter capable of ministerial determination from the
                   Defendant’s records.

                d. Plaintiff will fairly and adequately represent the class members’ interests. All
                   claims are based on the same facts and legal theories and Plaintiff’s interests
                   are consistent with the interests of the class.

                e. Plaintiff has retained counsel experienced in bringing class actions and
                   collection abuse claims.

        26. A class action is superior for the fair and efficient adjudication of the

class members’ claims.

        27. Congress specifically envisions class actions as a principal means of

enforcing the FDCPA. See 15 U.S.C. § 1692k.

        28. The class members are generally unsophisticated individuals unaware of

the protections afforded them by the FDCPA, which rights will not be vindicated in the absence

of a class action.

        29. Prosecution of separate actions by individual members of the classes

would create the risk of inconsistent or varying adjudications resulting in the establishment of

inconsistent or varying standards for the parties and would not be in the interest of judicial

economy.

        30. If the facts are discovered to be appropriate, Plaintiff will seek to certify

a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure.

        31. This Count is brought by Plaintiff, individually, and on behalf of a class




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that, according to Defendant’s records, consists of: (a) all individuals who have mailing

addresses within the United States; and (b) within one year before the filing of this action; (c)

were sent a collection letter in a form materially identical or substantially similar to Exhibit A

attached to Plaintiff’s Complaint (d) which was not returned by the postal service as

undeliverable.

       32. Collection letters, such as those sent by Defendant, are to be evaluated

by the objective standard of the hypothetical “least sophisticated consumer.”



                      Violations of the Fair Debt Collection Practices Act


       33. Plaintiff restates, realleges, and incorporates herein by reference all

foregoing paragraphs as if set forth fully in this Count.



                              Class Allegations Related to Exhibit A

       34. As described above, by sending Exhibit A to Plaintiff, the Defendant

violated 15 USC 1692g(a), 15 USC 1692e, 15 USC 1692e(2), 15 USC 1692e(5), 15 USC

1692e(10) and 15 USC 1692f and 15 USC 1692f(1).

       35. Defendant’s violations of 15 U.S.C. §1692, et seq., render Defendant liable to

Plaintiff and the Class.

       36. As a result of Defendant’s deceptive, insidious, and unfair debt collection

practices, Defendant is liable to Plaintiff and the Class.



       WHEREFORE, Plaintiff asks that this Court enter judgment in her favor and in favor of the

members of the Class, against Defendant, awarding damages as follows:

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              (A) Statutory damages as provided by § 1692k of the FDCPA;

              (B) Attorneys’ fees, litigation expenses and costs incurred in bringing this action;

              (C) Declaratory relief declaring that Exhibit A and/or the initial letter
                     Defendant sent Plaintiff violates the FDCPA; and

              (D) Any other relief this Court deems appropriate and just.




                                      Jury Demand

       Plaintiff demands trial by jury.

Dated: West Islip , New York
       October 23, 2018

                                                     RESPECTFULLY SUBMITTED,


                                             S/ JOSEPH MAURO
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                 EXHIBIT A
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